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 7
 8 Attorneys for Plaintiffs, TRAVELERS INDEMNITY COMPANY OF
   CONNECTICUT, CHARTER OAK FIRE INSURANCE COMPANY,
 9 TRAVELERS INDEMNITY COMPANY OF AMERICA and TRAVELERS
10 PROPERTY CASUALTY COMPANY OF AMERICA
11
                        UNITED STATES DISTRICT COURT
12
         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
13
14
      TRAVELERS INDEMNITY                    Case No.:
15    COMPANY OF CONNECTICUT, a
      Connecticut Corporation;
16    TRAVELERS INDEMNITY                    COMPLAINT FOR:
      COMPANY OF AMERICA, a
17    Connecticut Corporation;                   1. DECLARATORY RELIEF;
      CHARTER OAK FIRE                              AND
18    INSURANCE COMPANY, a                       2. EQUITABLE
      Connecticut Corporation;                      REIMBURSEMENT
19    TRAVELERS PROPERTY
20    CASUALTY COMPANY OF
      AMERICA, a Connecticut
21    Corporation;
22               Plaintiffs,
23                 v.
24 SR CONSTRUCTION, INC. dba SR
   BUILDERS, a Nevada Corporation;
25 and DOES 1 through 10 inclusive,
26
                 Defendants.
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                               PLAINTIFFS’ COMPLAINT
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 1         Come now Plaintiffs TRAVELERS INDEMNITY COMPANY OF
 2 CONNECTICUT,              CHARTER OAK FIRE INSURANCE COMPANY,
 3 TRAVELERS INDEMNITY COMPANY OF AMERICA, and TRAVELERS
 4 PROPERTY CASUALTY COMPANY OF AMERICA (hereinafter collectively
 5 referred to as “Plaintiffs”) and plead the following allegations on information
 6 and belief in support of their complaint herein:
 7                                  JURISDICTION
 8         1.    Plaintiff     TRAVELERS         INDEMNITY       COMPANY         OF
 9 CONNECTICUT (“TICC”) is now, and at all relevant times was, a
10 corporation, existing under the laws of the State of Connecticut, with its
11 principal place of business in Connecticut. TICC is, and at all relevant times
12 was, an insurance carrier eligible to do business as an insurer in the State
13 of California.
14         2.    Plaintiff THE TRAVELERS INDEMNITY COMPANY OF
15 AMERICA (“TICA”) is now, and at all relevant times was, a corporation
16 existing under the laws of the State of Connecticut, with its principal place
17 of business in Connecticut. TICA is, and at all relevant times was, an
18 insurance carrier eligible to do business as an insurer in the State of
19 California.
20         3.    Plaintiff CHARTER OAK FIRE INSURANCE COMPANY
21 (“CHARTER OAK”) is now, and at all relevant times was, a corporation,
22 existing under the laws of the State of Connecticut, with its principal place
23 of business in Connecticut. CHARTER OAK is, and at all relevant times
24 was, an insurance carrier eligible to do business as an insurer in the State
25 of California.
26         4.    Plaintiff TRAVELERS PROPERTY CASUALTY COMPANY OF
27 AMERICA (“TPCC”) is now, and at all relevant times was, a corporation,
28 existing under the laws of the State of Connecticut, with its principal place
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 1 of business in Connecticut. TPCC is, and at all relevant times was, an
 2 insurance carrier eligible to do business as an insurer in the State of
 3 California.
 4         5.    Plaintiffs are informed and believe and thereon allege that
 5 Defendant SR CONSTRUCTION, INC., doing business as SR Builders
 6 (hereinafter referred to as “SRC”), is a corporation organized and existing
 7 under the laws of the State of Nevada, with its principal place of business in
 8 Las Vegas, Nevada. Plaintiffs are informed and believe and thereon allege
 9 that SRC is a general contractor doing business in California.
10         6.    Defendants sued herein as DOES 1 through 10, inclusive, are
11 sued herein by such fictitious names because Plaintiffs are unaware of the
12 true names and capacities of said DOE Defendants. Plaintiffs will amend
13 this Complaint to reflect the true names when the same are ascertained.
14 Plaintiffs are informed and believe and thereon allege that said DOE
15 Defendants are responsible for the acts, events, and circumstances alleged
16 herein, or are interested parties to this action.
17         7.    This Court has original jurisdiction under 28 U.S.C. § 1332 in
18 that it is a civil action between citizens of different states in which the matter
19 in controversy exceeds, exclusive of costs and interest, seventy-five thousand
20 dollars. The amount in controversy exceeds the jurisdictional minimum and
21 represents the costs of defense and indemnity sought by SRCI in connection
22 with SRC’s indemnification in the action currently pending in American
23 Arbitration Association, Case No. AAA #01-20-0000-6147 entitled Palm
24 Springs, LLC v. SR Construction, Inc. (the “Underlying Action”).
25                                       VENUE
26         8.    Plaintiffs are informed and believe and thereon allege that the
27 acts and/or omissions at issue in this litigation took place in this judicial
28 district within the State of California. The Underlying Action is pending in
                                             3
                             PLAINTIFFS’ COMPLAINT
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 1 this judicial district. Venue, therefore, lies with this Court, as a substantial
 2 part of the events which are the subject of the claims asserted herein are
 3 located and/or took place in this judicial district.
 4                            GENERAL ALLEGATIONS
 5         9.    Critical Electric Systems Group, LLC (“Critical Electric”) entered
 6 into a subcontract with SRC to provide electrical work at the Project. SRC
 7 contends that in its subcontract with Critical Electric, Critical Electric was
 8 required to make SRC an additional insured under its CGL policies.
 9         10.   On May 17, 2018, Eide Industries, Inc. (“Eide”) entered into a
10 subcontract with SRC wherein Eide would provide awnings and canopies for
11 the Project. SRC contends that in its subcontract with Eide, Eide was
12 required to make SRC an additional insured under its CGL policies.
13         11.   On January 18, 2018, West Coast Fire & Integration, Inc. (“West
14 Coast Fire”) entered into a subcontract with SRC to supply and install the
15 fire alarm system for the Project. SRC contends that in its subcontract with
16 West Coast Fire, West Coast Fire was required make SRC an additional
17 insured under its CGL policies.
18         12.   On January 3, 2019, SRC entered into a subcontract with
19 Western Casework Corporation (“Western Casework”) to supply and install
20 millwork at the Project. SRC contends that in its subcontract with Western
21 Casework, Western Casework was required to make SRC an additional
22 insured under its CGL policies.
23         A.    Travelers Critical Electric Policies
24         13.   TICA and Charter Oak issued the following commercial general
25 liability policies to Critical Electric:
26    Insurer          Policy Number                       Policy Period
27    TICA             DT-CO-7F186889-TIA-17               4/1/2017 to 4/1/2018
28    TICA             DT-CO-7F186889-TIA-18               4/1/2018 to 4/1/2019
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                             PLAINTIFFS’ COMPLAINT
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 1    TICA             DT22-CO-7F186889-TIA-19                4/1/2019 to 4/1/2020
 2    Charter Oak      DT22-CO-7F186889-COF-20                4/1/2020 to 4/1/2021
 3         14.   The above reference policies are collectively referred to as the
 4 “Travelers Critical Electric Policies”.
 5         15.   The Travelers Critical Electric Policies contain Commercial
 6 General Liability Form CG T1 00 02 19, which provides in part as follows:
 7         SECTION I – COVERAGES
 8         COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
 9         LIABILITY
10         1.    Insuring Agreement.
11         a. We will pay those sums that the insured becomes legally
12         obligated to pay as damages because of “bodily injury” or “property
13         damage” to which this insurance applies. We will have the right
14         and duty to defend the insured against any “suit” seeking those
15         damages. However, we will have no duty to defend the insured
16         against any “suit” seeking damages for “bodily injury” or “property
17         damage” to which this insurance does not apply....
18         16.   Under the terms of the Travelers Critical Electric Policies, TICA
19 and Charter Oak respectively have an obligation to pay those sums that an
20 insured becomes legally obligated to pay as damages because of “property
21 damage” caused by an “occurrence” during the policy period (subject to
22 various limitations and exclusions in the policies).
23         B.    Travelers Eide Policies
24         17.   TPCC issued the following commercial general liability policies to
25 Eide:
26    Policy Number                              Policy Period
27    Y-630-9E191212-TIL-17                      8/24/17 to 8/24/18
28    Y-630-9E191212-TIL-18                      8/24/18 to 8/24/19
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                             PLAINTIFFS’ COMPLAINT
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 1    Y-630-9E191212-TIL-19                      8/24/19 to 8/24/20
 2    Y-630-9E191212-TIL-20                      8/24/20 to 8/24/21
 3         18.   The above reference policies are collectively referred to as the
 4 “Travelers Eide Policies”.
 5         19.   The Travelers Eide Policies contain Commercial General
 6 Liability Form CG 00 01 10 01, which provides in part as follows:
 7         SECTION I – COVERAGES
 8         COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
 9         LIABILITY
10         1.    Insuring Agreement.
11         We will pay those sums that the insured becomes legally obligated
12         to pay as damages because of “bodily injury” or “property damage”
13         to which this insurance applies. We will have the right and duty
14         to defend the insured against any “suit” seeking those damages.
15         However, we will have no duty to defend the insured against any
16         “suit” seeking damages for “bodily injury” or “property damage” to
17         which this insurance does not apply….
18         20.   Under the terms of the Travelers Eide Policies, TPCC has an
19 obligation to pay those sums that an insured becomes legally obligated to
20 pay as damages because of “property damage” caused by an “occurrence”
21 during the policy period (subject to various limitations and exclusions in the
22 policies).
23         C.    Travelers West Coast Fire Policies
24         21.   TICC issued the following commercial general liability policies
25 under some or all of which West Coast Fire & Integration, Inc. is identified
26 as a named insured:
27    Policy Number                              Policy Period
28    DT22-CO-5K349238                           1/15/18 to 1/15/19
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                             PLAINTIFFS’ COMPLAINT
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 1    DT22-CO-5K349238                           1/15/19 to 1/15/20
 2    DT22-CO-5K349238                           1/15/20 to 1/15/21
 3    DT22-CO-5K349238                           1/15/21 to 1/15/22
 4         22.   The above reference policies are collectively referred to as the
 5 “Travelers West Coast Fire Policies”.
 6         23.   The Travelers West Coast Fire Policies contain Commercial
 7 General Liability Form CG 00 01 10 01, for policy periods 1/15/18 to 1/15/19
 8 and 1/15/19 to 1/15/20, and Commercial General Liability Coverage Form CG
 9 T1 00 (02-19) for policy periods 1/15/20 to 1/15/21 and 1/15/21 to 1/15/22.
10 These commercial general liability forms provide, in substantively identical
11 language:
12         SECTION I – COVERAGES
13         COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
14         LIABILITY
15         1.    Insuring Agreement.
16         We will pay those sums that the insured becomes legally obligated
17         to pay as damages because of “bodily injury” or “property damage”
18         to which this insurance applies. We will have the right and duty
19         to defend the insured against any “suit” seeking those damages.
20         However, we will have no duty to defend the insured against any
21         “suit” seeking damages for “bodily injury” or “property damage” to
22         which this insurance does not apply….
23         24.   Under the terms of the Travelers West Coast Fire Policies, TPCC
24 has an obligation to pay those sums that an insured becomes legally
25 obligated to pay as damages because of “property damage” caused by an
26 “occurrence” during the policy period (subject to various limitations and
27 exclusions in the policies).
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                             PLAINTIFFS’ COMPLAINT
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 1         D.    Travelers Western Casework Policies
 2         25.   Charter Oak issued the following commercial general liability
 3 policies to Western Casework:
 4    Policy Number                              Policy Period
 5    Y-630-8M889332-COF-19                      1/1/19 to 1/1/20
 6    Y-630-8M889332-COF-20                      1/1/20 to 1/1/21
 7    Y-630-8M889332-COF-21                      1/1/21 to 1/1/22
 8         26.   The above reference policies are collectively referred to as the
 9 “Travelers Western Casework Policies”.
10         27.   The Travelers Western Casework Policies contain Commercial
11 General Liability Form CG 00 01 10 01, for the 1/1/19 to 1/1/20 policy period,
12 and Commercial General Liability Coverage Form CG T1 00 (02-19) for
13 policy periods 1/1/20 to 1/1/21 and 1/1/21 to 1/1/22 policy periods. These
14 commercial general liability forms provide, in substantively identical
15 language:
16         SECTION I – COVERAGES
17         COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
18         LIABILITY
19         1.    Insuring Agreement.
20         We will pay those sums that the insured becomes legally obligated
21         to pay as damages because of “bodily injury” or “property damage”
22         to which this insurance applies. We will have the right and duty
23         to defend the insured against any “suit” seeking those damages.
24         However, we will have no duty to defend the insured against any
25         “suit” seeking damages for “bodily injury” or “property damage” to
26         which this insurance does not apply….
27         28.   Under the terms of the Travelers Western Casework Policies,
28 Charter Oak has an obligation to pay those sums that an insured becomes
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                             PLAINTIFFS’ COMPLAINT
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 1 legally obligated to pay as damages because of “property damage” caused by
 2 an “occurrence” during the policy period (subject to various limitations and
 3 exclusions in the policies).
 4                    THE HYATT ANDAZ HOTEL PROJECT
 5         29.   This action arises out of a $50 million project to build a 150-room
 6 luxury boutique hotel in Palm Springs, California (the “Project”). On August
 7 25, 2017, Palm Springs, LLC and SRC entered into a contract pursuant to
 8 which SRC agreed to take over the construction of the Project after another
 9 general contractor could not complete the Project.
10         30.   On January 5, 2018, Critical Electric entered into a subcontract
11 with SRC to provide electrical work at the Project. SRC contends that in its
12 subcontract with West Coast Fire, West Coast Fire was required to make
13 SRC an additional insured under tis CGL policies.
14         31.   On May 17, 2018, Eide entered into a subcontract with SRC
15 wherein Eide would provide awnings and canopies for the Project. SRC
16 contends that in its subcontract with Eide, Eide was required to make SRC
17 an additional insured under its CGL policies.
18         32.   On January 18, 2018, West Coast Fire entered into a subcontract
19 with SRC to supply and install the fire alarm system for the Project. SRC
20 contends that in its subcontract with West Coast Fire, West Coast Fire was
21 required make SRC an additional insured under its CGL policies.
22         33.   On January 3, 2019, SRC entered into a subcontract with
23 Western Casework to supply and install millwork at the Project.             SRC
24 contends that in its subcontract with Western Casework, Western Casework
25 was required to make SRC an additional insured under its CGL policies.
26         34.   Plaintiffs are informed and believe and thereon allege that after
27 SRC took over construction at the Project a number of problems were
28 discovered thereby leading to a conflict between the developers and SRC
                                             9
                             PLAINTIFFS’ COMPLAINT
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1 regarding the Project.
2        35.    On October 22, 2019, the developer terminated its contract with
3 SRC.       SRC immediately terminated all subcontracts it had entered in
4 connection with the Project, including those detailed above, and left the
5 Project.
6                          THE UNDERLYING LITIGATION
7        36.    On December 7, 2020, Palm Springs, LLC filed a demand for
8 arbitration against SRC (the “Underlying Action”). Within its demand, Palm
9 Springs alleged a claim for breach of contract against SRC for the following:
10       •      Failing to complete the Project;
11       •      Failing and refusing to pay subcontractors for work on the
12              Project;
13       •      Failing and refusing to turn over materials paid by Palm Springs;
14       •      Failing and refusing to provide sufficient resources to meet the
15              Project schedule;
16       •      Failing to take action to mitigate delays to the Project caused by
17              SRC;
18       •      Failing to properly manage the Project schedule;
19       •      Failing to properly manage Project subcontractors;
20       •      Requiring subcontractors to perform work not required by the
21              Project plans and specifications;
22       •      Failing and refusing to timely resolve subcontractor claims and
23              liens to the detriment of Palm Springs and the Project;
24       •      Failing to meet onsite as required by the dispute resolution
25              provisions of the Contract;
26       •      Providing defective work and failing to timely correct such work
27              as required by the terms of the Contract; and
28       •      Western failed to perform as required by the Bond.
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                             PLAINTIFFS’ COMPLAINT
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 1       37.   The defense of SRC in the Underlying Action was tendered to
 2 TICC, TICA, CHARTER OAK and TPCC and each of the insurers agreed to
 3 fully defend SRC in the Underlying Action, subject to a reservation of rights.
 4                       FIRST CAUSE OF ACTION FOR
 5                           DECLARATORY RELIEF
 6                   (By Plaintiffs Against All Defendants)
 7       38.   Plaintiffs hereby re-allege and incorporate by reference each of
 8 the allegations contained in all preceding paragraphs of this Complaint as
 9 though fully set forth herein.
10       39.   An actual, present, and justiciable controversy has arisen and
11 now exists between Plaintiffs, on the one hand, and SRC on the other,
12 concerning Plaintiffs’ rights, duties, and obligations under the Critical
13 Electric, Eide, West Coast Fire, and Western Casework Policies.
14       40.   Specifically, Plaintiffs contend and are informed and believe that
15 SRC dispute the following:
16       •     Plaintiffs have no obligation to defend or indemnify SRC for
17             claims in the Underlying Action;
18       41.   Plaintiffs assert and contend that declaratory judgment is both
19 necessary and proper at this time for the court to determine the respective
20 rights, duties, and obligations as between Plaintiffs and SRC under the
21 provisions of the applicable policies of insurance.
22                     SECOND CAUSE OF ACTION FOR
23                      EQUITABLE REIMBURSEMENT
24                   (By Plaintiffs Against All Defendants)
25       42.   Plaintiffs hereby re-allege and incorporate by reference each
26 allegation contained in all preceding paragraphs of this Complaint as though
27 fully set forth herein.
28       43.   Plaintiffs have paid or will pay certain defense fees and costs
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                             PLAINTIFFS’ COMPLAINT
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 1 incurred by SRC in defense in the Underlying Action. Plaintiffs did not pay
 2 these sums as a volunteer. When Plaintiffs agreed to participate in SRC’s
 3 defense, they reserved their rights to seek reimbursement from SRC of any
 4 defense related payments that they may make that are not potentially
 5 covered under the applicable insurance policies.
 6        44.   Plaintiffs’ insurance policies require that they defend and
 7 indemnify only those claims covered under their respective policies. To the
 8 extent that Plaintiffs pay fees or costs incurred by or on behalf of SRC in
 9 connection with the Underlying Action, which fees or costs are not
10 potentially covered under Plaintiffs’ insurance policies, SRC will have been
11 unjustly enriched by such payments.
12        45.   As a result of SRC’s unjust enrichment, a quasi-contractual right
13 of reimbursement has arisen in favor of Plaintiffs in the amount paid for the
14 defense of claims not potentially covered under Plaintiffs’ insurance policies,
15 plus interest. The precise amount of the reimbursement that is appropriate
16 will be subject to proof at trial.
17                             PRAYER FOR RELIEF
18        Plaintiffs respectfully prays for judgment, as follows:
19        1.    For a judicial declaration that (1) Plaintiffs have no obligation to
20 defend or indemnify SRC for claims in the Underlying Action; (2) That
21 Plaintiffs are entitled to the reimbursement of all fees and costs they
22 incurred in defending SRC;
23        2.    For costs of suit herein;
24        3.    For such other and further relief as this Court deems just and
25 proper.
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                            PLAINTIFFS’ COMPLAINT
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1 DATED: August 4, 2021              THE AGUILERA LAW GROUP, APLC
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4
                                          A. Eric Aguilera
5                                         Lindsee Falcone
6                                         V. René Daley
                                     Plaintiffs TRAVELERS INDEMNITY
7                                    COMPANY OF CONNECTICUT,
                                     CHARTER OAK FIRE INSURANCE
8                                    COMPANY, TRAVELERS INDEMNITY
                                     COMPANY OF AMERICA, and
9                                    TRAVELERS PROPERTY CASUALTY
                                     COMPANY OF AMERICA
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                          PLAINTIFFS’ COMPLAINT
